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10
                                   UNITED STATES BANKRUPTCY COURT
11                                  CENTRAL DISTRICT OF CALIFORNIA
                                         LOS ANGELES DIVISION
12
       FOREMOST GROUPS, INC. f/k/a           Case No. 2:14-cv-00188 SVW (RZx)
13     FOREMOST INTERNATIONAL                Hon. Stephen V. Wilson
       TRADING CO., INC.,                    Courtroom 6
14
                      Plaintiff,
15
                vs.
16
       TANGSHAN AYERS BATH
17     EQUIPMENT CO., LTD.,

18                    Defendant.
19     In re:                                Case No.: 2:13-bk-17409-RK
20                                           Chapter 7
21     AYERS BATH (U.S.A.) CO., LTD.,        TANGSHAN AYERS BATH EQUIPMENT CO.’S
                                             OPPOSITION TO THE RENEWED MOTION OF
22                    Debtor.                FOREMOST GROUPS, INC. TO AMEND THE
                                             JUDGMENT OF THE BANKRUPTCY COURT
23                                           TO ADD TANGSHAN AYERS BATH
                                             EQUIPMENT CO. LTD. AS JUDGMENT
24                                           DEBTOR
25                                           Hearing: January 24, 2018 at 2:00 p.m.,
                                             Place: Courtroom 1675
26                                           Docket No. 118
27

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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2            Tangshan Ayers Bath Equipment Co., Ltd. (“Tangshan”), by and through its undersigned
 3   counsel, respectfully submits this opposition to the renewed motion of Foremost Groups, Inc.

 4   (“Foremost”) (“Motion” or “Mot”) (Dkt. 118) to amend Foremost’s unopposed proof of claim,
 5   which was allowed by this Court against Ayers Bath (U.S.A.) Co., Ltd. (“Ayers Bath” or the
 6   “Debtor”) (Dkt. 119-7), by adding Tangshan as a judgment debtor.1
 7                                 I.     PRELIMINARY STATEMENT
 8            1.      Foremost’s Motion should be denied without discovery or further proceedings. The

 9   Motion is meritless for several reasons. First, the relief it seeks is barred by due process concerns.
10   Foremost’s unopposed proof of claim was the equivalent of a default judgment, which, under

11   settled law, may not be enforced against a new defendant.2 Tangshan could not “control the

12   litigation,” as due process requires, because there was none—neither the Chapter 7 trustee (the

13   “Trustee”) nor anyone else opposed Foremost’s proof of claim on behalf of the virtually assetless
14   Debtor.3 Foremost thus cannot show that the underlying proof of claim was “fully and fairly

15   tried”—a prerequisite to enforcing it against Tangshan.4

16            2.      Due process also precludes enforcement of Foremost’s allowed claim against

17   Tangshan because, under settled law, Tangshan’s interests were not aligned with those of the

18   insolvent, non-operating Debtor. Foremost’s unproved, unelaborated proof of claim for over $5
19   million may as well have been for $5 billion, because neither the Debtor nor the Trustee had any

20   interest in defending against a claim that the Debtor had no assets to pay.5 Permitting Foremost

21

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23   1
       Accompanying Tangshan’s opposition are the Declarations of Xing Jingrong (“Xing Dec.”),
       Yang Chun (“Yang Dec.”) and Carl W. Oberdier (“Oberdier Dec.”).
24   2
       Indeed, the allowed proof of claim involved even less procedural protection than a default
       judgment, since Foremost was not required to offer proof of its claimed damages.
25
     3
       See NEC Elecs. Inc. v. Hurt, 208 Cal. App. 3d 772, 778-79, 256 Cal. Rptr. 441 (Cal. Ct. App.
26     Sixth Dist. 1989) (the alleged alter ego must have had “control of the litigation and occasion to
       conduct it with a diligence corresponding to the risk of personal liability involved.”).
27   4
         NEC, 208 Cal. App. 3d at 780-81, 256 Cal. Rptr. 441.
28   5
         As explained below, the Debtor did not even have standing to oppose Foremost’s proof of claim,
         nor, obviously, did Tangshan on the Debtor’s behalf.

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 1   now to enforce that claim against the Debtor’s solvent parent would give it an unjustifiable

 2   windfall.

 3          3.      Second, Foremost is barred by equitable estoppel from enforcing the allowed proof
 4   of claim against Tangshan. A judgment cannot be enforced against a new entity on an alter ego

 5   theory when, as here, the plaintiff knew of the facts on which its alter ego claim is based before the

 6   judgment was entered, yet declined to assert its claim until after the judgment was secured. By

 7   Foremost’s own admission, it learned of all the facts on which it relies in its Motion no later than

 8   November 13, 2013, when it conducted a Rule 2004 examination of two of the Debtor’s former

 9   representatives. Yet, when Foremost filed its proof of claim against the Debtor a month later, it

10   made no mention of Tangshan whatsoever. Foremost could have filed an adversary proceeding

11   naming Tangshan and the Debtor as defendants, but chose for tactical reasons to assert a claim only

12   against the Debtor.

13          4.      Third, Foremost has not in any event submitted admissible evidence sufficient to
14   establish alter ego liability under California Code of Civil Procedure § 187 (“Section 187”).6

15   Putting aside the unsupported speculation in its Motion, Foremost has submitted no evidence

16   showing either that there was a “such unity of interest and ownership [between Tangshan and the

17   Debtor] that their “separate personalities . . . no longer exist,” or that an “inequitable result” would

18   follow from treating them as separate entities.7 The commonplace intercorporate connections
19   between Tangshan and the Debtor that Foremost alleges are insufficient as a matter of law to

20   establish alter ego liability, and Foremost’s more serious charge that Tangshan “looted” the Debtor

21   before causing it to file for bankruptcy is false, entirely conjectural, and unsupported by any

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     6
       Tangshan agrees that federal courts in California may apply Section 187 pursuant to Fed. R. Civ.
25     P. 69(a). (See Mot. [¶¶ 74-75) Tangshan does not agree that Rule 7069 of the Federal Rules of
       Bankruptcy Procedure applies (see id. at p. 1), because the question presented in Foremost’s
26     Motion is whether the United States District Court for the District of Central California (the
       “District Court”), which referred this case for proposed findings, may amend Foremost’s proof
27     of claim, not whether this Court itself may do so.
     7
28     Las Palmas Assocs. v. Las Palmas Ctr. Assocs., 235 Cal. App. 3d 1220, 1249, 1 Cal. Rptr. 2d 301
       (Cal. Ct. App. Second Dist. 1991).

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 1   evidence. Foremost is merely an “unsatisfied creditor” asserting a meritless alter ego claim in an

 2   effort to recover from an innocent third party.8

 3          5.      Further discovery will not bear on the due process and equitable bars to Foremost’s

 4   Motion. Moreover, Foremost has not produced sufficient prima facie evidence of an alter ego

 5   relationship to entitle it to further discovery on that issue. Accordingly, this Court should entered a

 6   proposed decision for review by the District Court denying Foremost’s Motion with prejudice,

 7   without discovery or further proceedings.

 8                             II.     COUNTERSTATEMENT OF FACTS
 9   A.     The Ayers Bath Litigation
10          6.      On September 12, 2011, Foremost filed a Complaint for tortious interference against

11   Ayers Bath in the United States District Court for the Central District of California, Case No. 2:11-

12   cv-07473-GAF-E (the “Ayers Bath Litigation”). Foremost claimed that Ayers Bath was selling
13   bathroom ceramics manufactured by its grandparent corporation, Tangshan Huida Ceramic Group

14   Co., Ltd. (“Huida”), in violation of Foremost’s exclusive distribution rights under its contract with
15   Huida. (See Docket 119-7 at Ex. A (Foremost’s Complaint) ¶¶ 11-12, 64; Xing Dec. ¶ 4 & Ex. A

16   (Agreement for Cooperation, dated as of October 20, 2000, between Foremost and Huida))

17   Foremost then sought a preliminary injunction against Ayers Bath, which the District Court issued

18   on December 20, 2011.9
19

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     8
       See Sonora Diamond Corp. v. Super. Ct., 83 Cal. App. 4th 523, 539, 99 Cal. Rptr. 2d 824 (Cal.
22     Ct. App. Fifth Dist. 2000) (alter-ego doctrine “does not guard every unsatisfied creditor of a
       corporation but instead affords protection where some conduct amounting to bad faith makes it
23     inequitable for the corporate owner to hide behind the corporate form.”)
24   9
       Foremost’s current claim against Tangshan is its latest tactic in a seven-year campaign to litigate
       by proxy its contract claim against Huida without complying with the parties’ arbitration
25     agreement. Foremost’s claim is that Ayers Bath sold bathroom ceramics manufactured by Huida
       (not Tangshan Ayers) in violation of Foremost’s exclusive distribution agreement with Huida for
26     such products. (See Docket 119-7 (Foremost’s proof of claim) at, e.g., Ex. A ¶¶ 11-12, 64)
       Foremost itself has admitted that its claim is actually against Huida, alleging that “Ayers [Bath]
27     was the vehicle through which Huida sought to circumvent its contractual obligations.”
       (Oberdier Dec. ¶ 2 & Ex. A at 11 (emphasis added)) Yet, Foremost has avoided asserting any
28     claim against Huida, because, under their contract, such claim would be arbitrable before the
       CITEAC Shenzhen sub-Commission in China. (See Xing Dec. ¶ 4 & Ex. A ¶ 13)

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 1          7.      The preliminary injunction terminated Ayers Bath’s only source of revenue,

 2   although it continued to incur expenses such as rent, legal expenses, salaries, and payments for

 3   inventory previously purchased. (Yang Dec. ¶ 10)

 4   B.     The Bankruptcy Proceedings
 5          8.      On March 22, 2013, Ayers Bath filed a Voluntary Petition in accordance with

 6   Chapter 7 of the Bankruptcy Code. (See Dkt. 1) The Chapter 7 Trustee was then appointed.

 7   Foremost misleadingly claims, without any supporting evidence, that the Debtor’s petition was

 8   signed by “Junkuan Yao, who is Sales Manager of Tangshan Ayers.” (Mot. ¶ 39) As the petition

 9   clearly states, Mr. Yao was the President of the Debtor. Indeed, Foremost previously admitted that

10   the bankruptcy petition was signed by Junkuan Yao,” “the officer of the Debtor.” (Dkt. 20-7 ¶ 39
11   (emphasis added)) Neither Mr. Yao nor any other officer or employee of the Debtor held any

12   position with Tangshan during the time they were employed by the Debtor. (Yang Dec. ¶ 7)10

13          9.      The Debtor filed an original and amended Schedule “F” (see Dkts. 1 & 15), both

14   listing Foremost’s claims in the Ayers Bath Litigation, with amount “unknown,” as “disputed.”

15          10.     Foremost conducted a Bankruptcy Rule 2004 examination of two former officers of

16   the Debtor on November 13, 2013. While Foremost claims that this examination “revealed, for the

17   first time, the grossly inadequate capitalization of Ayers Bath and a significant overlap of directors

18   and officers” (Mot. ¶ 46), Foremost provides no support for those allegations, and they are flatly
19   untrue. Foremost provides no explanation or evidence showing that the Debtor’s start-up capital of

20   $200,000 in 2010 was inadequate for its operating needs; Foremost merely observes that such

21   amount was “grossly insufficient” to satisfy Foremost’s inflated, uncorroborated claim for over $5

22   million over three years later. In fact, the Debtor’s start-up capital was easily sufficient to meet its

23   operating needs until its source of revenue was eliminated by Foremost’s preliminary injunction in

24   December 2013. (Yang Dec. ¶ 10) And, while (as is commonplace for wholly owned subsidiaries)

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26
      Similarly, Foremost misleadingly describes the Debtors’ representatives in the Bankruptcy Rule
     10

27    2004 examination as “officers of Ayers Bath who are also employees of Tangshan Ayers.” (Mot.
      ¶ 44) As these witnesses testified, they were no longer employed by the Debtor as of the date of
28    the Rule 2004 examination (because it no longer existed as an operating entity). They were never
      simultaneously employed by both the Debtor and Tangshan. (Yang Dec. ¶ 7)

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 1   certain of the Debtor’s directors were employees of Tangshan, the two companies never had any

 2   overlapping officers or employees. (Yang Dec. ¶ 7) The testimony in the Rule 2004 examination

 3   did not suggest otherwise.

 4          11.     On December 9, 2013—four weeks after the Rule 2004 examination—Foremost

 5   filed a general unsecured proof of claim against the Debtor in the amount of $5,265,000.00. (Dkt.

 6   119-7) The proof of claim attached a copy of Foremost’s complaint in the Ayers Bath Litigation,

 7   but made no mention whatsoever of Tangshan. Nothing in Foremost’s proof of claim suggested

 8   that Foremost believed, or intended to claim, that Tangshan should be added as an additional

 9   debtor liable for Foremost’s proof of claim. In neither the Ayers Bath Litigation nor any other

10   proceeding did Foremost ever submit proof quantifying or supporting the $5,265,000.00 in

11   damages set forth in its proof of claim.

12          12.     With no incentive to file an objection to Foremost’s claim, in a case with few assets

13   and, despite the fact Foremost’s claim was scheduled in the Debtor’s schedules as disputed, the

14   Trustee filed no objection to Foremost’s claim, and the uncontested claim was deemed allowed.

15   (Dkts. 50 & 58) Foremost was paid $7,757.24 on its $5,265,000 claim. (Id.)

16          13.     The bankruptcy case was then closed on July 27, 2015. (Dkt. 59).

17   C.     The Tangshan Litigation
18          14.     On January 9, 2014, Foremost commenced a litigation against Tangshan in the
19   District Court, Case No. 2:14-cv-00188-SVW-RZ (the “Tangshan Litigation”). (See Oberdier
20   Dec. ¶ 2 & Ex. B (Foremost’s complaint)). Foremost asserted claims for tortious interference and

21   unfair competition similar to those asserted in the Ayers Bath Litigation, claiming that Tangshan

22   was Ayers Bath’s alter ego responsible for its conduct. However, Foremost’s complaint did not

23   even mention its proof of claim in the bankruptcy or suggest that it sought to enforce that proof of

24   claim against Tangshan without proving its underlying claims on the merits.

25          15.     In an order dated October 28, 2015, the District Court dismissed Foremost’s

26   complaint with leave to replead. (Oberdier Dec. ¶ 2 & Ex. C)

27          16.     On November 17, 2015, Foremost filed its First Amended Complaint in the

28   Tangshan Litigation. (Oberdier Dec. ¶ 2 & Ex. D) Only then, after the bankruptcy case was closed


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 1   and Foremost’s proof of claim deemed allowed, did Foremost assert for the first time that it had the

 2   right to enforce its proof of claim as a judgment against Tangshan.

 3          17.     On January 6, 2016, the District Court issued an order dismissing Foremost’s First

 4   Amended Complaint, again with leave to replead. Foremost filed its Second Amended Complaint

 5   on January 25, 2016, asserting a single cause of action to enforce the allowed proof of claim

 6   against Tangshan. (Oberdier Dec. ¶ 2 & Ex. E)

 7          18.     On November 1, 2017, the District Court issued an order referring the case to this

 8   Court for proposed findings of fact and conclusions of law under 28 U.S.C. § 157. Foremost filed

 9   its Motion in accordance with that order on December 14, 2017.

10                                      III.    LEGAL STANDARD
11          19.     “The ability under [S]ection 187 to amend a judgment to add a defendant, thereby

12   imposing liability on the new defendant without trial, requires both (1) that the new party be the

13   alter ego of the old party and (2) that the new party had controlled the litigation, thereby having

14   had the opportunity to litigate, in order to satisfy due process concerns.” Triplett v. Farmers Ins.

15   Exch., 24 Cal. App. 4th 1415, 1421, 29 Cal. Rptr. 2d 741 (Cal. Ct. App. Fourth Dist. 1994). The

16   party seeking to amend the judgment to add an additional debtor bears the burden of proof by a

17   preponderance of the evidence. Wollersheim v. Church of Scientology, 69 Cal. App. 4th 1012,

18   1018, 81 Cal. Rptr. 2d 896 (Cal. Ct. App. Second Dist. 1999).
19          20.     A motion to amend a judgment to name an additional judgment debtor is not an

20   action at law, it is “an equitable procedure [] based on the theory that the court is not amending the

21   judgment to add a new defendant but is merely inserting the correct name of the real defendant.”

22   Eldorado Stone, LLC v. Renaissance Stone, Inc., 2009 WL 347005, at *2 (S.D. Cal. Feb. 5, 2009).

23   This premise ensures that “adding a party to the judgment after the fact does not present due

24   process concerns.” Katzir’s Floor & Home Design, Inc. v. M-MLS.com, 394 F.3d 1143, 1148-49

25   (9th Cir. 2004). Accordingly, a court cannot bind an additional party to a judgment unless that

26   party, “personally or through a representative, had control of the litigation and occasion to conduct

27   it with a diligence corresponding to the risk of personal liability that was involved.” NEC, 208 Cal.

28   App. 3d at 778-79. “The due process considerations are in addition to, not in lieu of, the threshold


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 1   alter ego issues.” Wolf Metals Inc. v. Rand Pacific Sales, 4 Cal. App. 5th 698, 703, 209 Cal. Rptr.

 2   3d 198 (Cal. Ct. App. Second Dist. 2016) (emphasis in original).

 3          21.     If these due process requirements are satisfied, to prove alter ego liability, the

 4   creditor must demonstrate “(1) that there [is] such unity of interest and ownership that the separate

 5   personalities of the corporation and the individual no longer exist and (2) that, if the acts are treated

 6   as those of the corporation alone, an inequitable result will follow.” Las Palmas, 235 Cal. App. 3d

 7   at 1249, 1 Cal. Rptr. 2d 301. “Alter ego is an extreme remedy, sparingly used.” Sonora Diamond,

 8   83 Cal. App. 4th at 539, 99 Cal. Rptr. 2d 824; see also Dole Food Co. v. Patrickson, 538 U.S. 468,

 9   475 (2003) (“The doctrine of piercing the corporate veil, however, is the rare exception, applied in

10   the case of fraud or certain other exceptional circumstances.”). The alter-ego doctrine “does not

11   guard every unsatisfied creditor of a corporation but instead affords protection where some conduct

12   amounting to bad faith makes it inequitable for the corporate owner to hide behind the corporate

13   form.” Sonora Diamond, 83 Cal.App.4th at 539, 99 Cal.Rptr.2d 824.

14                                           IV.     ARGUMENT
15   A.     Enforcement Of The Unopposed Proof Of Claim
            Against Tangshan Would Violate Due Process
16
            1.    Default Judgments Cannot Be Amended To Add New Debtors
17          22.   Foremost’s unopposed proof of claim, the merits of which were never litigated, and

18   the amount of which was not even supported by any explanation or evidence, cannot be enforced
19   against Tangshan consistent with due process. Judgments cannot be amended to add new judgment

20   debtors unless there was an “active defense of the underlying claim” by the original defendant such

21   that it was “fully and fairly tried.” NEC, 208 Cal. App. 3d at 780, 256 Cal. Rptr. at 445 (due

22   process barred amendment of judgment against appearing corporate defendant to add its

23   shareholder, because defendant had not appeared at trial”); Motores De Mexicali, S.A. v. Superior

24   Court, 51 Cal. 2d 172, 173-76, 331 P.2d 1 (1952) (Judgments obtained by default cannot be

25   amended to add alleged alter egos, because adding parties to a judgment “without allowing them to

26   litigate questions beyond their relation to the allegedly alter ego corporation would patently violate

27   [the] constitutional safeguard [of due process].”); Wolf Metals, 4 Cal. App. 5th at 703, 209 Cal.

28   Rptr. 3d at 202 (alleged alter ego was improperly added as judgment debtor where judgment


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 1   defendant “offered no evidence-based defense in the underlying action, and the judgment against

 2   [it] was entered by default”); Shahedi v. Trimble, No. H040809, 2015 WL 1393315, at *2 (Cal. Ct.

 3   App. Sixth Dist. Mar. 26, 2015) (“Even where there is no apparent difference in interests between

 4   the corporation and the alleged alter ego individual, under Motores adding an alter ego judgment

 5   debtor to a default judgment is inconsistent with basic notions of due process”).

 6          23.     Foremost does not dispute that its unopposed proof of claim is akin to a default

 7   judgment. (See Mot. ¶ 84) In any event, Section 187’s requirement of an “active defense” of a

 8   “fully and fairly tried” claim precludes amendment of any judgment arising from an uncontested

 9   claim, even if not technically a “default judgment.” See, e.g., NEC, 208 Cal. App. 3d at 780, 256

10   Cal. Rptr. at 445; Katzir’s Floor & Home, 394 F.3d at 1150 (Section 187 could not apply because

11   the named defendant did not appear at trial, although it had filed an answer and initially defended

12   the lawsuit); Minton v. Cavaney, 56 Cal. 2d 576, 581 (1961) (same); Nat’l Cont’l Ins. Co. v. Swift

13   Trucking USA, Inc., No. A131588, 2012 WL 590588, at *5 (Cal. Ct. App. Feb. 22, 2012) (Section

14   187 could not apply because judgment was entered on uncontested summary judgment motion).

15          24.     Ignoring these controlling authorities, Foremost cites only a single unpublished case

16   applying Section 187 in unusual circumstances to a default judgment. (Mot. ¶ 84 (citing Calvin

17   Brian Int’l Co. v. Gustto, Inc., No. 3:13-cv-0218, 2014 WL 3548143, at *1, 4 (S.D. Cal. July 17,

18   2014))) In Calvin, the motion to amend the judgment was itself unopposed by the alleged alter ego,
19   despite adequate notice. The alter ego—the individual sole owner of the corporate defendant—had

20   actively participated in the lawsuit by submitting a declaration and appearing at hearings on behalf

21   of the defendant. The Court found that she had sufficient notice, “at a minimum, to oppose

22   Plaintiff's instant request to add [her] as a judgment debtor,” but instead was actively attempting to

23   evade execution of the judgment on her corporation. Calvin, 2014 WL 3548143, at *4. None of the

24   factors on which the Court relied in Calvin are present here, and, to the extent the Court (without

25   the benefit of briefing from the alter ego defendant) failed to apply properly the prohibition against

26   applying Section 187 to default judgments, its decision is not controlling.

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 1           2.      Judgments Cannot Be Amended To Add New Debtors
                     Whose Interests Were Not Aligned With The Original Defendant
 2           25.     Due process also precludes enforcement of Foremost’s proof of claim against
 3   Tangshan, because Tangshan’s interests were not, and could not be, adequately represented by the
 4   Debtor. See Petersen v. California Cove Communities, Inc., No. E047497, 2010 WL 673204, at *6
 5   (Cal. Ct. App. Fourth Dist. Feb. 25, 2010) (“the interests of the alter ego and the original judgment
 6   debtor must have substantially coincided. Otherwise, it cannot be said that the alter ego was
 7   ‘virtually represented’ in the litigation, even if the alter ego controlled that litigation on behalf of
 8   the original judgment debtor” (citing NEC, 208 Cal. App. 3d at 780, 256 Cal. Rptr. at 445)).
 9
             26.     By the time Foremost filed its proof of claim, the Debtor no longer existed as a
10   functioning entity, and, with liabilities far exceeding its assets, it had neither the means nor any
11   reason to contest Foremost’s claim. Tangshan, by contrast, had a significant interest in contesting a
12   $5.25 million claim capable of being enforced against it. This divergence of economic interests
13   between solvent and insolvent affiliates precludes application of Section 187. See NEC, 256 Cal.
14   Rptr. at 445 (amendment “improper” because the corporation “was on the verge of bankruptcy”
15   and “simply had no incentive to defend the [underlying] lawsuit” and thus the interests of the
16   alleged alter ego and the corporation “were not the same”); 21st Century Fin. Servs., LLC v.
17   Manchester Fin. Bank, 255 F. Supp. 3d 1012, 1035 (S.D. Cal. 2017) (denying motion to add alter
18   ego as judgment debtor because alleged alter ego’s “interests do not appear to have been aligned
19   with the [named defendant],” such that the alter ego “had [no] occasion to conduct the arbitration
20   ‘with a diligence corresponding to the risk’ involved” (citation omitted)); Gottlieb v. Kest, 141 Cal.
21   App. 4th 110, 153, 46 Cal. Rptr. 3d 7, 37–38 (Cal. Ct. App. Second Dist. 2006) (where defendant
22   companies were created for a specific project that was subsequently lost, could not afford counsel,
23   and had no assets, the alleged alter ego “had no motive or incentive to defend the claims against
24   them, and the companies [conduct in the underlying litigation] did not adequately represent his
25
     interests”).
26

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 1            3.    Tangshan Did Not “Control” The Defense
                    (Or Lack Thereof) To Foremost’s Proof Of Claim
 2
              27.   In any event, the evidence demonstrates that Tangshan did not control the defense
 3
     against Foremost’s proof of claim—including the decision not to oppose it—as due process
 4
     requires. That decision belonged exclusively to the Trustee, and the Debtor (or Tangshan on the
 5
     Debtor’s behalf) had no standing to object. See 11 U.S.C. § 502, In re Lona, 393 B.R. 1, 3-4 (N.D.
 6
     Cal. 2008) (a chapter 7 debtor generally does not have standing to object to claims because the
 7
     debtor has no interest in the distribution of assets of the estate and is therefore not an “aggrieved
 8
     person” (citing In re Willard, 240 B.R. 664, 668 (Bankr. D. Conn. 1999)). “[D]ebtors only have
 9
     standing to object to claims where there is a ‘sufficient possibility’ of a surplus to give them a
10
     pecuniary interest.” Wade v. Forest Villa Home Owners Assoc., BAP No. NC-14-1562, 2015 WL
11
     7281670, at *4 (9th Cir. BAP Nov. 17, 2015) (collecting cases), aff’d 671 Fed. App’x 689 (9th Cir.
12
     2016).
13
              28.   The Trustee made clear that there was no possibility whatsoever of such a surplus.
14
     After payment of administrative expenses, the estate was left with only $7,757.24 in assets. (Dkt.
15
     50 at p. 2, 9; Mot. ¶ 52) There was no reasonable expectation that the costs necessary to oppose
16
     Foremost’s proof of claim and administer the Debtor’s estate would have been less than that
17
     amount. See, e.g., In re Dinoto, 576 B.R. 835, 838 (E.D. Mich. 2017) (debtor lacked standing to
18
     object to proof of claim constituting 97% of total claims against the estate because the remaining
19
     3% ($27,700.49) was likely to be used to account for administrative expenses).
20
              29.   Foremost never alleges that Tangshan was even aware of Foremost’s proof of claim.
21
     Instead, Foremost alleges (incorrectly) only that Tangshan caused Ayers Bath to file for
22
     bankruptcy, that its executive signed the bankruptcy petition, that it procured witnesses for the Rule
23
     2004 examination, and that it shared the same counsel as Ayers Bath. (See Mot. ¶ 83) Such
24
     allegations, even if true, would be patently insufficient to prove Tangshan’s control over the
25
     defense to Foremost’s claim. See, e.g., Eldorado, 2009 WL 347005, at *3-4 (S.D. Cal. Feb. 5,
26
     2009) (alleged alter-ego’s attendance at depositions and trial proceedings, payment of significant
27
     legal expenses, active participation in settlement conferences, and admission that he was “in the
28
     driver’s seat on settlement talks” was “insufficient evidence” of control); NEC, 208 Cal. App. 3d at

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 1   781 (insufficient evidence of “control” over the defense of the litigation despite “substantial

 2   evidence” of alter-ego status, and alter-ego’s actual knowledge of the action and ensuing attempts

 3   to satisfy creditors); Katzir’s Floor, 394 F.3d at 1147-50 (“it would be error to find that the sole

 4   shareholder and officer received adequate due process solely by the evidence of his retention of

 5   attorneys for the corporation, financing of the litigation, and appearance at settlement

 6   conferences.”); Minton, 56 Cal. 2d at 581–82, 364 P.2d at 476 (“It is not sufficient [for Section

 7   187] that the putative alter-ego defendant supplie[d] the funds for the prosecution or defense, that

 8   he appear[ed] as a witness or cooperates without having control.”).

 9   B.     Enforcement Of The Unopposed Proof Of Claim
            Against Tangshan Is Barred By Equitable Estoppel
10          30.   Enforcement of Foremost’s proof of claim against Tangshan is also barred by
11   Foremost’s concession that it learned of the facts on which it bases its alter-ego claim prior to filing
12   its proof of claim. Amendment of a judgment under Section 187 is barred if the creditor was aware
13   of the alleged alter ego relationship prior to the entry of judgment. Jines v. Abarbanel, 77 Cal. App.
14   3d 702, 717, 143 Cal. Rptr. 818 (Cal. Ct. App. Second Dist. 1978). See also Dixon v. Wallow City,
15   336 F.3d 1013, 1022 (9th Cir. 2003) (amendment of a judgment to add an alleged alter ego requires
16   the movant to demonstrate “that the evidence [of the alter ego relationship] could not have been
17   discovered earlier through due diligence.”); William E. Wegner, et al., Post Trial Motions, Cal.
18   Prac. Guide Civ. Trials & Ev. Ch. 18-C (Sept. 2017) (“denial of motion to amend judgment is a
19
     “real possibility where counsel has failed to conduct reasonable discovery as to the identity of
20   other possible defendants; . . . “[and if] proper [alleged elter-ego] defendants surface for the first
21
     time during trial, plaintiffs should immediately seek leave to amend the complaint to name them”
22   (emphasis in original)).
23          31.     Foremost concedes that it learned all the facts supporting its alter ego claim no later
24   than its Rule 2004 examination of the Debtor’s representatives—four weeks before it filed its proof
25
     of claim. (See, e.g., Mot. ¶ 3 (Rule 2004 examination “revealed, for the first time, the grossly
26   inadequate capitalization of Ayers Bath and a significant overlap of directors and officers.”)).11 Its
27

28   11
      In fact, Foremost made similar claims regarding the relationship between Ayers Bath and
      Tangshan as early as November 2011. In the Ayers Bath Litigation, Foremost submitted sworn
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 1   proof of claim, however, made no reference to Tangshan or any claim of alter-ego liability. (See

 2   Dkt. 119-7)

 3           32.     Rather than filing its proof of claim solely against the Debtor, Foremost could have,

 4   and should have, commenced an adversary proceeding in the bankruptcy asserting its claim against

 5   both the Debtor and Tangshan, based on its alter ego theory. See, e.g., In re Transcolor Corp., 296

 6   B.R. 343 (Bankr. D. Md. 2003) (creditor of Chapter 7 debtor had standing to file adversary

 7   proceeding against the debtor and its alter ego whose fraudulent misrepresentations on behalf of the

 8   debtor caused injury to the plaintiff and gave rise to the claim); Gisinger v. Patriach, 16 Civ. 1564

 9   (ER), 16 Civ. 1596 (ER), 16 Civ. 2831 (ER), 2016 WL 6083981 at *1, 4 (S.D.N.Y. Oct. 18, 2016)

10   (bankruptcy court had jurisdiction over employees’ claims against Chapter 7 debtor and its non-

11   debtor controlling persons for noncompliance with federal and state Worker Adjustment and

12   Retraining Notification (“WARN”) Acts); In re Jenkins Landscaping & Excavating, Inc., 93 B.R.
13   84, 88 (W.D. Va. 1988) (creditor commenced adversary proceeding against debtor and its non-

14   debtor affiliates; court held that affiliate was the alter ego of debtor and was required to turn over

15   its property and assets to debtor to satisfy creditors). The District Court’s referral order

16   determining that Foremost’s claim against Tangshan is a non-core matter related to the Debtor’s

17   bankruptcy proceeding, which this Court is empowered to adjudicated (Dkt. 100), confirms that

18   Foremost could have asserted its claims against Tangshan in a proceeding before this Court in the
19   first instance.12

20

21

22
       statements claiming that Tangshan and Ayers Bath were not “separate and distinct” corporate
23     entities, based on Tangshan’s 100% ownership of Ayers Bath, “overlapp[ing]” “principals,”
       shared employees, and marketing materials describing the parties’ corporate structure. (See
24     Oberdier Dec. ¶ 2 & Ex. A)
     12
25      Alternatively, Foremost could have sought a lifting of the automatic stay for the purpose
       litigating its claims relating to Tangshan in the Ayers Bath litigation. It also could have moved
26     for substantive consolidation of Tangshan with the Debtor. See, e.g., In re Lahijani, No. SV 98–
       15561 GM2005 WL 4658490 at *4, 10 (Bankr. C.D. Cal. Oct. 3, 2005) (granting creditor’s
27     motion to substantively consolidate the Chapter 7 debtor with its two alleged alter egos); In re
       Owner Management Service, LLC Trustee Corps, 530 B.R. 711, 742 (Bankr. C.D. Cal 2015)
28     (granting creditor’s motion to substantively consolidate the Chapter 7 debtor with several
       corporate and individual defendants that the Court found constituted a “single enterprise”).

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 1          33.     Foremost’s tactical decision to obtain an uncontested proof of claim solely against

 2   the Debtor, rather than litigate its substantive claims against the Debtor and Tangshan together,

 3   estops its enforcement of the allowed proof of claim against Tangshan under Section 187.

 4   C.     Foremost Has Failed To Demonstrate That Tangshan Is An Alter Ego Of The Debtor
 5          1.      Foremost Fails To Establish That Tangshan And The
                    Debtor Formed a “Single Enterprise” With A “Unity Of Interest”
 6
            34.     Foremost establishes neither the “unity of interest” between Tangshan and THE
 7
     Debtor nor the “inequitable result” necessary to sustain its alter-ego claim. In order to establish a
 8
     “unity of interest,” Foremost must submit evidence of “specific manipulative conduct” by
 9
     Tangshan toward the Debtor such that the Debtor was “merely [its] instrumentality, agency,
10
     conduit or adjunct.” Inst. of Veterinary Pathology, Inc. v. Cal. Health Lab., Inc., 116 Cal. App. 3d
11
     111, 119-120, 172 Cal. Rptr. 74 (Cal. Ct. App. Fourth Dist. 1981). Foremost fails to submit any
12
     such evidence. Indeed, after citing the sixteen factors that courts consider in determining whether
13
     the “unity of interest” requirement is satisfied, Foremost fails to address ten of them. (See Mot. ¶
14
     78 (quoting Mid-Century Ins. Co. v. Gardner, 9 Cal. App. 4th 1205, 1213 n.3 (Cal. Ct. App. Third
15
     Dist. 1992)Error! Bookmark not defined.). Foremost fails to allege that any of the following
16
     Mid-Century factors is satisfied:
17
                    a.      the commingling of funds and other assets,13
18
                    b.      the failure to segregate funds of the individual and the corporation,
19
                    c.      the failure to seek authority to issue stock or issue stock under existing
20
                            authorization,
21
                    d.      the representation by an individual that he is personally liable for corporate
22
                            debts,
23
                    e.      the failure to maintain adequate corporate minutes or records,
24

25

26    Foremost’s claim that Tangshan “looted” the Debtor before it filed for bankruptcy, in addition to
     13

      being false and unsupported, is not the same as a claim that Tangshan and the Debtor commingled
27    their funds in the ordinary course of their business. In fact, the Debtor maintained its own bank
      accounts and financial records. (Yang Dec. ¶ 9) Arguably, Foremost’s “looting” claim does bear
28    on other Mid-Century factors; i.e., the unauthorized diversion of corporate funds to other than
      corporate purposes; and the treatment by an individual of corporate assets as his own.

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 1                  f.      the intermingling of the individual and corporate records,

 2                  g.      the use of a single address for the individual and the corporation,

 3                  h.      the use of the corporation as a mere conduit for an individual's business,14

 4                  i.      the concealment of the ownership of the corporation, and

 5                  j.      attempts to segregate liabilities to the corporation.

 6          35.     At most, Foremost’s evidence demonstrates only the existence of commonplace

 7   “intercorporate connections” between Tangshan and Ayers Bath that are insufficient, as a matter of

 8   law, to constitute a “unity of interest.” See Inst. of Veterinary Pathology, 116 Cal. App. 3d at 119-

 9   120, 172 Cal. Rptr. 74 (affirming dismissal of alter-ego claim against corporate parent as a matter

10   of law for lack of “direct evidence of [parent’s] manipulative control” despite proof of 100%

11   ownership, overlapping directors and officers, issuance of consolidated financial statements, shared

12   possession of corporate records). Each of Foremost’s allegations regarding the lack of separateness

13   between Tangshan and the Debtor is insufficient, for the following reasons:

14                  a.      Tangshan’s ownership of 100% of the shares of the Debtor (Mot. ¶ 79(a)) is

15                          insufficient to establish alter ego liability. See Payoda, Inc. v. Photon

16                          Infotech, Inc., Case No. 14-cv-04103, 2015 WL 4593911, at *3 (N.D. Cal.

17                          July 30, 2015) (granting motion to dismiss alter-ego claim because “a parent

18                          and its subsidiary sharing offices and leadership, even where parent holds
19                          100% stock ownership in subsidiary, is not sufficient to satisfy the unity of

20                          interest test” (quoting Harris Rutsky & Co. Ins. Servs., Inc. v. Bell &

21                          Clements, Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003))).

22                  b.      Foremost’s allegations regarding Tangshan’s “dominat[ion] and control[]”

23                          of the Debtor (Mot. ¶ 79(b)) are either conclusory and unsupported by

24

25

26    Foremost’s allegation that Tangshan “formed Ayers Bath for the sole purpose of selling products
     14

      made or distributed by Tangshan Ayers, such as toilets, faucets and tiles, to the United States
27    market” (Mot. ¶ 79(b)), even if true, would not satisfy the “mere conduit” factor. A
      manufacturer’s use of a distributor to sell its products, whether the distributor is independent or
28    an affiliate, is not tantamount to a conflation of its identity with the distributor. The distributor
      has a separate, unique function from that of the manufacturer.

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 1                       admissible evidence, insufficient as a matter of law, or both, for the

 2                       following reasons:

 3                       i.       Foremost’s allegation that Tangshan formed Ayers Bath for the sole

 4                                purpose of selling its products is unsupported. In any event, the

 5                                formation of a subsidiary to distribute the parent’s products is not

 6                                one of the Mid-Century factors indicating an alter ego relationship.

 7                       ii.      Foremost’s allegation that “the directors and officers of Ayers Bath

 8                                consisted entirely of former and current employees of Tangshan” is

 9                                unsupported by any evidence and, moreover, simply untrue. (See

10                                Yang Dec. ¶¶ 7-8) In any case, overlapping directors and officers do

11                                not demonstrate an alter ego relationship. See Sonora Diamond, 83

12                                Cal. App. 4th at 548-49, 99 Cal. Rptr. 2d 824 (“[I]t is considered a

13                                normal attribute of ownership that officers and directors of the parent

14                                serve as officers and directors of the subsidiary . . . [It is a] 'well

15                                established principle [of corporate law] that directors and officers

16                                holding positions with a parent and its subsidiary can and do ‘change

17                                hats’ to represent the two corporations separately, despite their

18                                common ownership.” (quoting United States v. Bestfoods, 524 U.S.
19                                51, 69 (1998)).

20                       iii.      Foremost’s allegation that Tangshan “dictated prices for its products

21                                to Ayers Bath” is ambiguous and (depending on its interpretation)

22                                either unremarkable or misleading. Of course Tangshan “dictated”

23                                the prices at which it sold its own products to the Debtor. (See Dkt.

24                                119-5 at 16:14-21) But it did not dictate the prices at which the

25                                Debtor resold those products to its own customers. (See id.) In any

26                                event, a manufacturer’s control over the prices at which its products

27                                are sold is not a Mid-Century factor indicating an alter ego

28                                relationship.


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 1                       iv.    Foremost’s allegation that Tangshan’s outside counsel prepared and

 2                              filed the Debtor’s bankruptcy petition is misleading, in that such

 3                              counsel represented only the Debtor, not Tangshan, at the time such
 4                              petition was filed. In any event, the fact that entities in a corporate

 5                              group share the same counsel is unremarkable and not a Mid-Century

 6                              factor indicating an alter ego relationship.

 7                       v.     Foremost’s allegation that the Debtor’s petition was signed by

 8                              “Junkuan (Peter) Yao, the President of Ayers Bath and Sales

 9                              Manager for Tangshan,” is misleading, because Mr. Yao was not

10                              employed by Tangshan in any capacity at the time he signed the

11                              petition. (Docket 119-5 at 20–21; Yang Dec. ¶ 7). Again, however,

12                              overlapping directors and officers is not a factor indicating an alter

13                              ego relationship.

14               c.      Foremost’s allegation that Tangshan “failed to adequately capitalize” the

15                       Debtor (Mot. ¶ 79(d)) is unsupported by any analysis or authority. Foremost

16                       makes no effort to explain why the Debtor’s initial capital of $200,000 in

17                       2010 was “grossly insufficient,” except for the fact that it was insufficient to

18                       pay Foremost’s proof of claim over three years later. But obviously a
19                       corporate parent is not required to provide its subsidiary with start-up capital

20                       sufficient to pay any and all unknown tort liabilities that could conceivably

21                       arise. The alter-ego doctrine “does not guard every unsatisfied creditor of a

22                       corporation.” Sonora Diamond, 83 Cal. App. 4th at 539, 99 Cal. Rptr. 2d

23                       824; see also Flores v. DDJ, Inc., No. 1:99 CV 5878 AWI DLB, 2007 WL

24                       4269259 (E.D. Cal. Nov. 28, 2007) (rejecting plaintiff’s claim that

25                       “[d]efendants must have been undercapitalized because [they] no longer

26                       have any assets”); Carlesimo v. Schwebel, 87 Cal. App. 2d 482, 493, 197

27                       P.2d 167, 174 (Cal. Dist. Ct. App. First Dist. 1948) (total capitalization of

28


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 1                         $1,221.82 was sufficient, as a matter of law, to operate a business engaged in

 2                         the buying and selling of groceries”).

 3                  d.     Foremost’s allegation that Tangshan and the Debtor “disregarded corporate

 4                         formalities and failed to maintain arms’ length relationships” (Mot. ¶ 79(e)

 5                         [sic]) is conclusory and unsupported by any evidence. Foremost’s allegation

 6                         that the Debtor’s President did not regularly report to its board of directors is

 7                         not evidence of control by Tangshan; if anything it is evidence of the

 8                         Debtor’s independence of Tangshan. Foremost’s allegation that “Ayers Bath

 9                         did not pay Tangshan in the ordinary course of business” is unsupported.

10                         The fact that the Debtor, as a start up company, paid for its inventory when it

11                         had sufficient funds to do so is hardly unusual, and certainly not a Mid-

12                         Century factor suggesting an alter ego relationship.

13                  e.     Foremost’s allegation that Tangshan “commingled and diverted funds and

14                         other assets of Ayers Bath” (Mot. ¶ 79(b) [sic]) is utterly false and

15                         unsupported by any evidence. Tangshan received no funds from the Debtor

16                         after October 2011—well over a year before the Debtor’s bankruptcy

17                         filing—and was left with unpaid invoices for inventory of over $600,000.

18                         (See Yang Dec. ¶ 14) Foremost’s allegation is sheer conjecture based on the
19                         Debtor’s minimal assets at the time of its bankruptcy petition compared to its

20                         prior annual revenues, but the depletion of the Debtor’s assets is easily

21                         explained by the fact that its source of revenues was terminated by the

22                         injunction obtained by Foremost in December 2011. (See Yang Dec. ¶ 10)

23          2.      Foremost Fails To Establish The Requisite “Inequitable Result”
                    From Treating Tangshan And Ayers Bath As Separate Entities
24          36.     Foremost also fails to establish any “inequitable result” from treating Tangshan and
25
     the Debtor as separate entities. Foremost merely repeats its untrue, unsupported allegations that
26   Tangshan “transferred the assets of [the Debtor]” to itself, “render[ing the Debtor] incapable of
27   meeting its obligations to creditors, including Foremost.” (Mot. ¶ 81) Tangshan did nothing of the
28


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 1   sort (Yang Dec. ¶¶ 8, 13), and Foremost provides no evidence of any such transfers. The Trustee,

 2   for that matter, found no such evidence either.

 3          37.       Even if the Debtor had never had any expenses or other liabilities, such that its total
 4   revenues from inception were available to satisfy Foremost’s proof claim, such revenues were only

 5   $2,595,200 (see Mot. ¶ 52)—less than half the amount of Foremost’s proof of claim. That fact

 6   suggests that Foremost’s damage claim is grossly inflated, but in any event, the Debtor’s inability

 7   to satisfy Foremost’s claim is obviously not because of any looting by Tangshan. Foremost is

 8   merely an “unsatisfied creditor”: it cannot show any “bad faith” on the part of Tangshan making it

 9   inequitable for Tangshan to “hide behind the corporate form.” Sonora Diamond, 83 Cal.App.4th at

10   539, 99 Cal.Rptr.2d 824.

11   D.     Foremost Is Not Entitled To Discovery
12          38.       The due process and equitable bars precluding enforcement of Foremost’s allowed

13   proof of claim against Tangshan are pure issues of law resolvable on the face of Foremost’s

14   Motion. Further evidence of the relationship between Tangshan and the Debtors cannot bear on

15   those matters.

16          39.       Even if Foremost were to clear these due process and equitable hurdles, it is not

17   entitled to further discovery regarding Tangshan’s relationship with the Debtor in order to support

18   its alter ego claim. Foremost has already been permitted to take (as it described it) “fishing
19   expedition” discovery under Bankruptcy Rule 2004. (Bankruptcy Dkt. 20-1 ¶ 35, Mot. ¶¶ 83,

20   79(d), 43-44) Yet, Foremost still cannot make out even a minimally sufficient prima facie case for

21   imposing alter ego liability on Tangshan, as necessary to entitle it to discovery on that question.

22   See, e.g., 21st Century, 255 F. Supp. 3d at 1026 (equity barred amendment of judgment because

23   “[t]here [wa]s no discernible reason the record could not have been more fully developed with

24   regard to [alleged alter-ego] prior to filing this motion”). For these reasons, Foremost’s request in

25   the alternative for discovery should be denied.

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 1                                        V.      CONCLUSION
 2          For the foregoing reasons, the Court should enter proposed findings and conclusions

 3   denying Foremost’s Motion with prejudice, and granting such other and further relief as this Court

 4   deems just and proper.15

 5   Dated: January 10, 2018                     Respectfully submitted,

 6
                                                 OBERDIER RESSMEYER LLP
 7

 8

 9                                               By:___/s/ Carl W. Oberdier__________________
                                                         Carl W. Oberdier
10
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                                                  Bath Equipment Co., Ltd
20

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     15
      Tangshan hereby notifies Foremost, as required by LBR 9013-1(f)(2), that any reply must be filed
28    with the court and served on the responding party not later than 7 days prior to the hearing on the
      motion.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



                                                                      TANGSHAN AYERS BATH EQUIPMENT CO.'S
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 OPPOSITION TO THE RENEWED MOTION OF FOREMOST GROUPS, INC. TO AMEND THE JUDGMENT OF THE
________________________________________________________________________________________________
 BANKRUPTCY COURT TO ADD TANGSHAN AYERS BATH EQUIPMENT CO. LTD. AS JUDGMENT DEBTOR
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01/10/2018
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              01/10/2018
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Howard B. Grobstein
   Grobstein Teeple Financial Advisory Services, LLP
   6300 Canoga Ave., Ste. 1130W
   Woodland Hills, CA 91367
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  01/10/2018
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 PRESIDING JUDGE'S COPY:
 Hon. Robert N. Kwan,
 United States Bankruptcy Court - Central District of California, Edward R. Roybal Federal Building and Courthouse,
 255 E. Temple Street, Suite 1682 / Courtroom 1675, Los Angeles, CA 900012
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/10/2018         Carl W. Oberdier                                                            /s/ Carl W. Oberdier
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                    SERVICE LIST

                              Case No. 2:13-bk-17409-RK

                                         In re:

                           AYERS BATH (U.S.A.) CO., LTD.

                                        Debtor.

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